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                            I n tthe
                            In    h e Matter
                                       M att e r Of:
                                                 Of:

          GGOV.
            O V. OOF U.S.
                   F U. S. vsvsJ JPMORGAN
                                  P M O R G A N CCHASE
                                                  H A S E BBANK
                                                            A N K
                                 1:22-cv-10904-UA
                                 1: 2 2- c v- 1 0 9 0 4- U A




                       STACEY
                       S T A C E Y E.
                                   E. PLASKETT
                                      P L AS K E T T

                               M a y 0 09,
                               May     9, 2 2023
                                            023




                               Confidential
                               C o nfi d e nti al
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      SSTACEY     E. PPLASKETT·
        T A C E Y E.   L A S K E T T · CConfidential
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      GGOV.
         O V. OOF  U.S.
                F U. S. vvs
                          s JJPMORGAN
                              P M O R G A N CCHASE H A S E BBANK
                                                             A NK                                                      11

·1

·2·   ·   ·   ·   ·   ·   UNITED           STATES        DISTRICT             COURT       FOR    THE

·3·   ·   ·   ·   ·   ·   ·    ·   SOUTHERN             DISTRICT          OF    NEW       YORK

·4·   ·--------------------------
· ·   ·GOVERNMENT OF THE UNITED
·5·   ·STATES OF AMERICA,

·6·   ·   ·   ·   ·   ·Plaintiff,

·7·   ·v·     ·   ·   ·   ·    ·   ·   ·    ·   ·   ·    ·    ·    · Case      No.    1:22-cv-10904-UA

·8·   ·JPMORGAN           CHASE        BANK,        N.A.,

·9·   · · · · ·Defendant,
· ·   ·---------------------------
10

11

12

13

14·   ·   ·   ·   ·   ·   ·    ·   ·   ·    ·   ·   CONFIDENTIAL

15·   ·   ·   ·   ·   ·   ·    ·   ·VIDEOTAPED                DEPOSITION             OF

16·   ·   ·   ·   ·   ·   ·    ·   ·   ·    STACEY           E.    PLASKETT

17·   ·   ·   ·   ·   ·   ·    ·   ·   ·    Tuesday,              May    9,    2023

18·   ·   ·   ·   ·   ·   ·    ·   ·   ·    ·   ·9:00         a.m.       EST

19

20

21

22

23

24·   ·   Reported            by:·     Goldy        Gold,          RPR

25·   ·   Job     No.     J9647388


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                       s JJPMORGAN
                           P M O R G A N CCHASE H A S E BBANK
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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· · · · · Q.· · ·What was your book going to be?                                                           09:23
                                                                                                             09:23
·3· · · · · A.· · ·It was going to be a historical book                                                      09:23
                                                                                                             09:23
·4· ·about earlier life, maybe a generation or so ago,                                                       09:23
                                                                                                             09:23
·5· ·in the Virgin Islands.                                                                                  09:23
                                                                                                             09:23
·6· · · · · Q.· · ·And what was the law firm that you                                                        09:23
                                                                                                             09:23
·7· ·worked for initially?                                                                                   09:24
                                                                                                             09:24
·8· · · · · A.· · ·I worked with Nichols Newman Logan.                                                       09:24
                                                                                                             09:24
·9· · · · · Q.· · ·And how long were you with Nichols                                                        09:24
                                                                                                             09:24
10· ·Newman Logan?                                                                                           09:24
                                                                                                             09:24
11· · · · · A.· · ·I was there until 2007.                                                                   09:24
                                                                                                             09:24
12· · · · · Q.· · ·Which was how -- I didn't ask you                                                         09:24
                                                                                                             09:24
13· ·actually when you first moved down?                                                                     09:24
                                                                                                             09:24
14· · · · · A.· · ·I think I moved down in 2005, so                                                          09:24
                                                                                                             09:24
15· ·approximately two years.                                                                                09:24
                                                                                                             09:24
16· · · · · Q.· · ·Okay.· And what kind of work were                                                         09:24
                                                                                                             09:24
17· ·you doing at Nichols Newman for those two years?                                                        09:24
                                                                                                             09:24
18· · · · · A.· · ·Primarily transactional.· And also                                                        09:24
                                                                                                             09:24
19· ·in the Virgin Islands at that time, all attorneys                                                       09:24
                                                                                                             09:24
20· ·did court-appointed work.· Most of the lawyers in                                                       09:24
                                                                                                             09:24
21· ·the firm were not courtroom attorneys, and so I                                                         09:24
                                                                                                             09:24
22· ·did a lot of the courtroom appearances for the                                                          09:24
                                                                                                             09:24
23· ·law firm.                                                                                               09:24
                                                                                                             09:24
24· · · · · Q.· · ·Okay.· And then 2007, you moved to a                                                      09:24
                                                                                                             09:24
25· ·new job?                                                                                                09:24
                                                                                                             09:24


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                       s JJPMORGAN
                           P M O R G A N CCHASE H A S E BBANK
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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· · · · · A.· · ·Yes.                                                                                      09:24
                                                                                                             09:24
·3· · · · · Q.· · ·What was that?                                                                            09:24
                                                                                                             09:24
·4· · · · · A.· · ·I was hired as the counsel for the                                                        09:24
                                                                                                             09:24
·5· ·Virgin Islands Economic Development Authority.                                                          09:25
                                                                                                             09:25
·6· · · · · · · · ·(Court reporter clarification.)
·7· ·BY MR. NEIMAN:                                                                                          09:25
                                                                                                             09:25
·8· · · · · Q.· · ·What is the Virgin Islands Economic                                                       09:25
                                                                                                             09:25
·9· ·Development Authority?                                                                                  09:25
                                                                                                             09:25
10· · · · · A.· · ·The Virgin Islands Economic                                                               09:25
                                                                                                             09:25
11· ·Development Authority is a semi-autonomous agency                                                       09:25
                                                                                                             09:25
12· ·in the Virgin Islands, which handles many                                                               09:25
                                                                                                             09:25
13· ·incentives to bring as well as grow businesses in                                                       09:25
                                                                                                             09:25
14· ·the territory through various vehicles:                         A                                       09:25
                                                                                                             09:25
15· ·government development bank, which gives loans to                                                       09:25
                                                                                                             09:25
16· ·businesses, small businesses predominantly; a tax                                                       09:25
                                                                                                             09:25
17· ·incentive program under the U.S. code, which                                                            09:25
                                                                                                             09:25
18· ·allows businesses and individuals to receive tax                                                        09:25
                                                                                                             09:25
19· ·reductions on federal taxes for businesses and                                                          09:25
                                                                                                             09:25
20· ·employment that they bring to the territory.                                                            09:25
                                                                                                             09:25
21· · · · · Q.· · ·And you described this as a                                                               09:25
                                                                                                             09:25
22· ·semi-autonomous agency?                                                                                 09:26
                                                                                                             09:26
23· · · · · A.· · ·Correct.                                                                                  09:26
                                                                                                             09:26
24· · · · · Q.· · ·Can you explain what you meant by                                                         09:26
                                                                                                             09:26
25· ·that?                                                                                                   09:26
                                                                                                             09:26


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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· ·texts with him during your time at the Economic                                                         10:48
                                                                                                             10:48
·3· ·Development Authority?                                                                                  10:48
                                                                                                             10:48
·4· · · · · A.· · ·I do not recall.                                                                          10:48
                                                                                                             10:48
·5· · · · · Q.· · ·When do you think you first met                                                           10:48
                                                                                                             10:48
·6· ·Mr. Epstein in person?                                                                                  10:48
                                                                                                             10:48
·7· · · · · A.· · ·After leaving the Economic                                                                10:48
                                                                                                             10:48
·8· ·Development Authority.                                                                                  10:48
                                                                                                             10:48
·9· · · · · Q.· · ·How did that first meeting come                                                           10:48
                                                                                                             10:48
10· ·about, as best as you can recall?                                                                       10:48
                                                                                                             10:48
11· · · · · A.· · ·Well, I was running for office.                                  I                        10:48
                                                                                                             10:48
12· ·was, as individuals running for office do,                                                              10:48
                                                                                                             10:48
13· ·looking for contributors, donors.· Erika                                                                10:48
                                                                                                             10:48
14· ·Kellerhals introduced me to Mr. Epstein as a                                                            10:48
                                                                                                             10:48
15· ·potential donor.                                                                                        10:48
                                                                                                             10:48
16· · · · · Q.· · ·At the time that you were introduced                                                      10:48
                                                                                                             10:48
17· ·-- withdrawn.                                                                                           10:48
                                                                                                             10:48
18· · · · · · · · ·And where was the first meeting with                                                      10:48
                                                                                                             10:48
19· ·Mr. Epstein?                                                                                            10:48
                                                                                                             10:48
20· · · · · A.· · ·At his office in St. Thomas.                                                              10:48
                                                                                                             10:48
21· · · · · Q.· · ·Do you remember about how many times                                                      10:48
                                                                                                             10:48
22· ·you met with Mr. Epstein?                                                                               10:48
                                                                                                             10:48
23· · · · · A.· · ·I do not recall.                                                                          10:49
                                                                                                             10:49
24· · · · · Q.· · ·Do you think it was more than five                                                        10:49
                                                                                                             10:49
25· ·times?                                                                                                  10:49
                                                                                                             10:49


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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· · · · · A.· · ·No.                                                                                       10:49
                                                                                                             10:49
·3· · · · · Q.· · ·Where else did you meet with him                                                          10:49
                                                                                                             10:49
·4· ·other than in his offices at St. Thomas?                                                                10:49
                                                                                                             10:49
·5· · · · · A.· · ·I met him in his home in New York.                                                        10:49
                                                                                                             10:49
·6· · · · · Q.· · ·Did you ever meet him on Little                                                           10:49
                                                                                                             10:49
·7· ·Saint James?                                                                                            10:49
                                                                                                             10:49
·8· · · · · A.· · ·No.                                                                                       10:49
                                                                                                             10:49
·9· · · · · Q.· · ·About how many times were you at his                                                      10:49
                                                                                                             10:49
10· ·home in New York?                                                                                       10:49
                                                                                                             10:49
11· · · · · A.· · ·I believe one time.                                                                       10:49
                                                                                                             10:49
12· · · · · Q.· · ·Okay.· About how many times did you                                                       10:49
                                                                                                             10:49
13· ·meet with him in his office?                                                                            10:49
                                                                                                             10:49
14· · · · · A.· · ·I would have to speculate -- in --                                                        10:49
                                                                                                             10:49
15· ·office in St. Thomas?                                                                                   10:49
                                                                                                             10:49
16· · · · · Q.· · ·Yes.                                                                                      10:49
                                                                                                             10:49
17· · · · · A.· · ·I would have to speculate.                                                                10:49
                                                                                                             10:49
18· · · · · Q.· · ·More than once, do you believe?                                                           10:49
                                                                                                             10:49
19· · · · · A.· · ·Yes.                                                                                      10:49
                                                                                                             10:49
20· · · · · Q.· · ·But less than five times?                                                                 10:49
                                                                                                             10:49
21· · · · · A.· · ·Yes.                                                                                      10:49
                                                                                                             10:49
22· · · · · Q.· · ·About how many times did you speak                                                        10:49
                                                                                                             10:49
23· ·to Mr. Epstein on the phone?                                                                            10:49
                                                                                                             10:49
24· · · · · A.· · ·I did not recall.                                                                         10:49
                                                                                                             10:49
25· · · · · Q.· · ·More than five times?                                                                     10:49
                                                                                                             10:49


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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· · · · · A.· · ·Yes.                                                                                      10:49
                                                                                                             10:49
·3· · · · · Q.· · ·More than ten times?                                                                      10:49
                                                                                                             10:49
·4· · · · · A.· · ·I do not recall.                                                                          10:49
                                                                                                             10:49
·5· · · · · Q.· · ·What do you recall discussing with                                                        10:49
                                                                                                             10:49
·6· ·him when you met him in person?                                                                         10:50
                                                                                                             10:50
·7· · · · · A.· · ·About my intentions -- the first --                                                       10:50
                                                                                                             10:50
·8· · · · · Q.· · ·Yeah.· Let's start with the first                                                         10:50
                                                                                                             10:50
·9· ·time.                                                                                                   10:50
                                                                                                             10:50
10· · · · · A.· · ·Related to campaign contributions.                                                        10:50
                                                                                                             10:50
11· · · · · Q.· · ·In what way?                                                                              10:50
                                                                                                             10:50
12· · · · · A.· · ·I cannot recall at that point in                                                          10:50
                                                                                                             10:50
13· ·time what the specifics were.                                                                           10:50
                                                                                                             10:50
14· · · · · Q.· · ·Is it fair to say you were asking                                                         10:50
                                                                                                             10:50
15· ·for money?                                                                                              10:50
                                                                                                             10:50
16· · · · · A.· · ·Correct.                                                                                  10:50
                                                                                                             10:50
17· · · · · Q.· · ·Do you remember how much you asked                                                        10:50
                                                                                                             10:50
18· ·for?                                                                                                    10:50
                                                                                                             10:50
19· · · · · A.· · ·I do not recall at that meeting if                                                        10:50
                                                                                                             10:50
20· ·the contribution was solely for myself.                                                                 10:50
                                                                                                             10:50
21· · · · · Q.· · ·Ah.· Who else might it have been                                                          10:50
                                                                                                             10:50
22· ·for?                                                                                                    10:50
                                                                                                             10:50
23· · · · · A.· · ·The Democratic Party.                                                                     10:50
                                                                                                             10:50
24· · · · · Q.· · ·Okay.· So fair to say that, during                                                        10:50
                                                                                                             10:50
25· ·the course of your multiple discussions with                                                            10:50
                                                                                                             10:50


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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· ·you were going to run for Congress again?                                                               11:04
                                                                                                             11:04
·3· · · · · A.· · ·When I lost.                                                                              11:04
                                                                                                             11:04
·4· · · · · Q.· · ·Okay.· And when you went to work for                                                      11:04
                                                                                                             11:04
·5· ·the Kellerhals firm, how long did you work there?                                                       11:04
                                                                                                             11:04
·6· · · · · A.· · ·I don't recall the time frame, but                                                        11:04
                                                                                                             11:04
·7· ·it would have been 2013.                                                                                11:04
                                                                                                             11:04
·8· · · · · Q.· · ·I know that in the past, at least,                                                        11:04
                                                                                                             11:04
·9· ·Ms. Kellerhals had done work for Mr. Epstein                                                            11:04
                                                                                                             11:04
10· ·and/or his companies.                                                                                   11:04
                                                                                                             11:04
11· · · · · · · · ·Did you, while you were at the firm,                                                      11:04
                                                                                                             11:04
12· ·do any work for Epstein or any Epstein-related                                                          11:04
                                                                                                             11:04
13· ·businesses?                                                                                             11:04
                                                                                                             11:04
14· · · · · A.· · ·I don't recall.                                                                           11:04
                                                                                                             11:04
15· · · · · Q.· · ·What kind of work did you do at the                                                       11:04
                                                                                                             11:04
16· ·firm?                                                                                                   11:04
                                                                                                             11:04
17· · · · · A.· · ·Predominantly transactional for                                                           11:04
                                                                                                             11:04
18· ·companies that were in the Virgin Islands and for                                                       11:04
                                                                                                             11:04
19· ·a few advice related to the economic development.                                                       11:05
                                                                                                             11:05
20· · · · · Q.· · ·And I take it that Epstein and his                                                        11:05
                                                                                                             11:05
21· ·businesses remained a client of the Kellerhals
22· ·firm during the time that you were there; is that                                                       11:05
                                                                                                             11:05
23· ·fair?                                                                                                   11:05
                                                                                                             11:05
24· · · · · A.· · ·Yes.                                                                                      11:05
                                                                                                             11:05
25· · · · · Q.· · ·All right.· Let's talk about a                                                            11:05
                                                                                                             11:05


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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· · · · · A.· · ·I don't recall.                                                                           12:28
                                                                                                             12:28
·3· · · · · Q.· · ·Did you talk to Mr. Epstein about                                                         12:28
                                                                                                             12:28
·4· ·this press release?                                                                                     12:28
                                                                                                             12:28
·5· · · · · A.· · ·I don't recall.                                                                           12:28
                                                                                                             12:28
·6· · · · · Q.· · ·Just going back to the press release                                                      12:28
                                                                                                             12:28
·7· ·for a moment.· I'm sorry.                                                                               12:28
                                                                                                             12:28
·8· · · · · · · · ·You'll see in the third paragraph,                                                        12:28
                                                                                                             12:28
·9· ·there's a description of you having received                                                            12:28
                                                                                                             12:28
10· ·$5,400 in two separate contributions from Epstein                                                       12:28
                                                                                                             12:28
11· ·on August 2nd, according to federal campaign                                                            12:28
                                                                                                             12:28
12· ·finance records, right?                                                                                 12:28
                                                                                                             12:28
13· · · · · A.· · ·Yes.                                                                                      12:28
                                                                                                             12:28
14· · · · · Q.· · ·And that was true, right?· You had                                                        12:28
                                                                                                             12:28
15· ·gotten two donations from Mr. Epstein personally                                                        12:28
                                                                                                             12:28
16· ·on or about August 2nd of 2016?                                                                         12:29
                                                                                                             12:29
17· · · · · A.· · ·Yes, totaling $5,400.                                                                     12:29
                                                                                                             12:29
18· · · · · Q.· · ·Okay.· And that was -- so August 2nd                                                      12:29
                                                                                                             12:29
19· ·was about two weeks after the text exchange with                                                        12:29
                                                                                                             12:29
20· ·Erika about what building you should be going to                                                        12:29
                                                                                                             12:29
21· ·for a meeting with Mr. Epstein, right?· That's                                                          12:29
                                                                                                             12:29
22· ·Exhibit 20?                                                                                             12:29
                                                                                                             12:29
23· · · · · A.· · ·State the date again?                                                                     12:29
                                                                                                             12:29
24· · · · · Q.· · ·I said it's about two weeks after --                                                      12:29
                                                                                                             12:29
25· · · · · A.· · ·Yes.                                                                                      12:29
                                                                                                             12:29


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                           P M O R G A N CCHASE H A S E BBANK
                                                          A NK                            2216
                                                                                            16

·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· ·didn't want his name on the host committee?                                                             02:13
                                                                                                             02:13
·3· · · · · A.· · ·I learned that he donated to the                                                          02:13
                                                                                                             02:13
·4· ·campaign.                                                                                               02:13
                                                                                                             02:13
·5· · · · · Q.· · ·Did you learn that he didn't want                                                         02:13
                                                                                                             02:13
·6· ·his name included on the invitation?                                                                    02:13
                                                                                                             02:13
·7· · · · · A.· · ·I don't recall at that point.                                                             02:13
                                                                                                             02:13
·8· · · · · Q.· · ·Did you want his name on your                                                             02:13
                                                                                                             02:13
·9· ·invitation?                                                                                             02:13
                                                                                                             02:13
10· · · · · A.· · ·I don't recall expressing an                                                              02:13
                                                                                                             02:13
11· ·opinion.                                                                                                02:13
                                                                                                             02:13
12· · · · · Q.· · ·Yeah.· And I'm asking a slightly                                                          02:13
                                                                                                             02:13
13· ·different question, not so much whether you                                                             02:13
                                                                                                             02:13
14· ·recall expressing an opinion.                                                                           02:13
                                                                                                             02:13
15· · · · · · · · ·But in 2018, did you think having                                                         02:13
                                                                                                             02:13
16· ·Jeffrey Epstein's name on your campaign                                                                 02:13
                                                                                                             02:13
17· ·invitations would be a good idea?                                                                       02:13
                                                                                                             02:13
18· · · · · A.· · ·I don't recall.                                                                           02:13
                                                                                                             02:13
19· · · · · Q.· · ·Do you remember meeting with                                                              02:13
                                                                                                             02:13
20· ·Mr. Epstein in the fall of 2018?                                                                        02:13
                                                                                                             02:13
21· · · · · A.· · ·I don't recall.                                                                           02:13
                                                                                                             02:13
22· · · · · Q.· · ·Do you remember -- you testified                                                          02:13
                                                                                                             02:13
23· ·before that you thought you had met with him at                                                         02:14
                                                                                                             02:14
24· ·his home once in New York?                                                                              02:14
                                                                                                             02:14
25· · · · · A.· · ·Yes.                                                                                      02:14
                                                                                                             02:14


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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· · · · · Q.· · ·Tell me about his home.· What do you                                                      02:14
                                                                                                             02:14
·3· ·remember about him?                                                                                     02:14
                                                                                                             02:14
·4· · · · · A.· · ·I remember it being off of Lexington                                                      02:14
                                                                                                             02:14
·5· ·Avenue.· I recall going to the address, ringing                                                         02:14
                                                                                                             02:14
·6· ·the bell, someone coming from outside which I                                                           02:14
                                                                                                             02:14
·7· ·assumed to be a security person.                                                                        02:14
                                                                                                             02:14
·8· · · · · Q.· · ·Uh-huh.
·9· · · · · A.· · ·Someone opening the door, coming                                                          02:14
                                                                                                             02:14
10· ·into a large foyer area, meeting Lesley Groff,                                                          02:14
                                                                                                             02:14
11· ·telling me that he would be with me.· Walking                                                           02:14
                                                                                                             02:14
12· ·through an even larger foyer stairwell area to a                                                        02:14
                                                                                                             02:14
13· ·room immediately there that would appear to be a                                                        02:14
                                                                                                             02:14
14· ·dining room, where he was sitting at a very long                                                        02:14
                                                                                                             02:14
15· ·table having a conversation with another                                                                02:15
                                                                                                             02:15
16· ·gentleman.· Wrapping up the conversation, that                                                          02:15
                                                                                                             02:15
17· ·person leaving -- making introductions, that                                                            02:15
                                                                                                             02:15
18· ·person leaving, and me sitting down and having a                                                        02:15
                                                                                                             02:15
19· ·conversation with him.                                                                                  02:15
                                                                                                             02:15
20· · · · · Q.· · ·Do you remember who the other person                                                      02:15
                                                                                                             02:15
21· ·was who was there meeting with Mr. Epstein?                                                             02:15
                                                                                                             02:15
22· · · · · A.· · ·I don't recall the person's name.                                                         02:15
                                                                                                             02:15
23· · · · · Q.· · ·Were there any women present in the                                                       02:15
                                                                                                             02:15
24· ·home when you visited?                                                                                  02:15
                                                                                                             02:15
25· · · · · A.· · ·Other than Ms. Groff, no.                                                                 02:15
                                                                                                             02:15


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                                                          A NK                            2218
                                                                                            18

·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· · · · · Q.· · ·Did you ever hear that when                                                               02:15
                                                                                                             02:15
·3· ·Mr. Epstein traveled to the Virgin Islands, he                                                          02:15
                                                                                                             02:15
·4· ·often had young women with him?                                                                         02:15
                                                                                                             02:15
·5· · · · · A.· · ·What time frame are you asking me                                                         02:15
                                                                                                             02:15
·6· ·did I know?                                                                                             02:15
                                                                                                             02:15
·7· · · · · Q.· · ·Ever.                                                                                     02:15
                                                                                                             02:15
·8· · · · · A.· · ·Yes.                                                                                      02:15
                                                                                                             02:15
·9· · · · · Q.· · ·When do you recall?                                                                       02:15
                                                                                                             02:15
10· · · · · A.· · ·I don't recall the exact time of                                                          02:16
                                                                                                             02:16
11· ·hearing that.                                                                                           02:16
                                                                                                             02:16
12· · · · · Q.· · ·Do you think it was before or after                                                       02:16
                                                                                                             02:16
13· ·September of 2018?                                                                                      02:16
                                                                                                             02:16
14· · · · · A.· · ·I don't recall.                                                                           02:16
                                                                                                             02:16
15· · · · · Q.· · ·So it could have been earlier than                                                        02:16
                                                                                                             02:16
16· ·that?                                                                                                   02:16
                                                                                                             02:16
17· · · · · A.· · ·It could have.                                                                            02:16
                                                                                                             02:16
18· · · · · Q.· · ·Okay.· So what happened -- how long                                                       02:16
                                                                                                             02:16
19· ·was your meeting with Mr. Epstein at his home?                                                          02:16
                                                                                                             02:16
20· · · · · A.· · ·I don't recall.                                                                           02:16
                                                                                                             02:16
21· · · · · Q.· · ·Was it more than an hour?                                                                 02:16
                                                                                                             02:16
22· · · · · A.· · ·No.                                                                                       02:16
                                                                                                             02:16
23· · · · · Q.· · ·Okay.· Half an hour, roughly?                                                             02:16
                                                                                                             02:16
24· · · · · A.· · ·Potentially.                                                                              02:16
                                                                                                             02:16
25· · · · · Q.· · ·What do you recall talking about?                                                         02:16
                                                                                                             02:16


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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· · · · · A.· · ·Virgin Islands' politics, national                                                        02:16
                                                                                                             02:16
·3· ·politics, campaign contribution.                                                                        02:16
                                                                                                             02:16
·4· · · · · Q.· · ·Okay.· Do you remember what your ask                                                      02:16
                                                                                                             02:16
·5· ·was?                                                                                                    02:16
                                                                                                             02:16
·6· · · · · A.· · ·No.                                                                                       02:16
                                                                                                             02:16
·7· · · · · Q.· · ·Were you trying to raise money for                                                        02:16
                                                                                                             02:16
·8· ·the DCCC at this time?                                                                                  02:17
                                                                                                             02:17
·9· · · · · A.· · ·I think I was always trying to raise                                                      02:17
                                                                                                             02:17
10· ·money for the Democratic Congressional Campaign                                                         02:17
                                                                                                             02:17
11· ·Committee.                                                                                              02:17
                                                                                                             02:17
12· · · · · Q.· · ·That's one of the jobs of being a                                                         02:17
                                                                                                             02:17
13· ·Democratic congressperson, correct?                                                                     02:17
                                                                                                             02:17
14· · · · · A.· · ·Yes.                                                                                      02:17
                                                                                                             02:17
15· · · · · Q.· · ·And you had a total of $250,000 that                                                      02:17
                                                                                                             02:17
16· ·you were supposed to try to raise?                                                                      02:17
                                                                                                             02:17
17· · · · · A.· · ·Members of Congress, based upon                                                           02:17
                                                                                                             02:17
18· ·their seniority and committee assignments, have                                                         02:17
                                                                                                             02:17
19· ·dues as well as raise amounts that are requested.                                                       02:17
                                                                                                             02:17
20· · · · · Q.· · ·And do you recall yours being around                                                      02:17
                                                                                                             02:17
21· ·$250,000 in this time period?                                                                           02:17
                                                                                                             02:17
22· · · · · A.· · ·I don't recall at that time period                                                        02:17
                                                                                                             02:17
23· ·what it was, but that does not sound                                                                    02:17
                                                                                                             02:17
24· ·unreasonable.                                                                                           02:17
                                                                                                             02:17
25· · · · · Q.· · ·It does not sound unreasonable?                                                           02:17
                                                                                                             02:17


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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· · · · · A.· · ·No.                                                                                       02:17
                                                                                                             02:17
·3· · · · · Q.· · ·Okay.· And that's a lot of money?                                                         02:17
                                                                                                             02:17
·4· · · · · A.· · ·Yes.                                                                                      02:17
                                                                                                             02:17
·5· · · · · Q.· · ·So who were your prospects for                                                            02:17
                                                                                                             02:17
·6· ·raising that kind of money?                                                                             02:17
                                                                                                             02:17
·7· · · · · A.· · ·Individuals who had donated before,                                                       02:17
                                                                                                             02:17
·8· ·alumni, individuals who were interested in the                                                          02:17
                                                                                                             02:17
·9· ·same topics for which committees I sat on, other                                                        02:18
                                                                                                             02:18
10· ·Democratic donors throughout the country,                                                               02:18
                                                                                                             02:18
11· ·et cetera.                                                                                              02:18
                                                                                                             02:18
12· · · · · Q.· · ·Was Mr. Epstein on that list of                                                           02:18
                                                                                                             02:18
13· ·people who would be a potential help in raising                                                         02:18
                                                                                                             02:18
14· ·money for the DCCC?                                                                                     02:18
                                                                                                             02:18
15· · · · · A.· · ·Yes.                                                                                      02:18
                                                                                                             02:18
16· · · · · Q.· · ·Did you ask him to contribute to                                                          02:18
                                                                                                             02:18
17· ·that?                                                                                                   02:18
                                                                                                             02:18
18· · · · · A.· · ·Yes.                                                                                      02:18
                                                                                                             02:18
19· · · · · Q.· · ·Was that part of what was discussed                                                       02:18
                                                                                                             02:18
20· ·at this meeting in September?                                                                           02:18
                                                                                                             02:18
21· · · · · A.· · ·I don't recall if it's that                                                               02:18
                                                                                                             02:18
22· ·specific, but it's possible, yes.                                                                       02:18
                                                                                                             02:18
23· · · · · Q.· · ·Are there limits to the amount that                                                       02:18
                                                                                                             02:18
24· ·any individual can donate to the DCCC?                                                                  02:18
                                                                                                             02:18
25· · · · · A.· · ·Yes.                                                                                      02:18
                                                                                                             02:18


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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· · · · · Q.· · ·What are the limits?                                                                      02:18
                                                                                                             02:18
·3· · · · · A.· · ·At that time, I believed an                                                               02:18
                                                                                                             02:18
·4· ·individual could give over 30,000.· I can't                                                             02:18
                                                                                                             02:18
·5· ·remember the exact amount, but it was in the                                                            02:18
                                                                                                             02:18
·6· ·range of 30,000.                                                                                        02:18
                                                                                                             02:18
·7· · · · · Q.· · ·How much did you ask Mr. Epstein to                                                       02:18
                                                                                                             02:18
·8· ·give?                                                                                                   02:18
                                                                                                             02:18
·9· · · · · A.· · ·To the maximum, whatever that                                                             02:18
                                                                                                             02:18
10· ·maximum was.                                                                                            02:19
                                                                                                             02:19
11· · · · · Q.· · ·Okay.· How do you get somebody to                                                         02:19
                                                                                                             02:19
12· ·give that much money?                                                                                   02:19
                                                                                                             02:19
13· · · · · A.· · ·You ask them.                                                                             02:19
                                                                                                             02:19
14· · · · · Q.· · ·Okay.· Did Mr. Epstein ever ask for                                                       02:19
                                                                                                             02:19
15· ·anything from you?                                                                                      02:19
                                                                                                             02:19
16· · · · · A.· · ·No.                                                                                       02:19
                                                                                                             02:19
17· · · · · · · · ·MR. NEIMAN:· Let me know mark now as                                                      02:19
                                                                                                             02:19
18· · · · · Plaskett Exhibit 40, a one-page text                                                             02:19
                                                                                                             02:19
19· · · · · exchange.                                                                                        02:20
                                                                                                             02:20
20· · · · · · · · ·[Exhibit 40, September 2018 text                                                          02:20
                                                                                                             02:20
21· · · · · exchange, was marked for identification.]                                                        02:20
                                                                                                             02:20
22· ·BY MR. NEIMAN:                                                                                          02:20
                                                                                                             02:20
23· · · · · Q.· · ·All right.· Ms. Plaskett, I've                                                            02:20
                                                                                                             02:20
24· ·handed you Exhibit 40, which is a text exchange                                                         02:20
                                                                                                             02:20
25· ·between you and Jerome, your chief of staff, in                                                         02:20
                                                                                                             02:20


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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· ·September of 2018.· Do you see that?                                                                    02:20
                                                                                                             02:20
·3· · · · · A.· · ·Yes.                                                                                      02:20
                                                                                                             02:20
·4· · · · · Q.· · ·And what is it that Mr. Murray is                                                         02:20
                                                                                                             02:20
·5· ·sending you?· What is that a picture of?· Can you                                                       02:20
                                                                                                             02:20
·6· ·tell?                                                                                                   02:20
                                                                                                             02:20
·7· · · · · A.· · ·That is a picture of me.· I think                                                         02:20
                                                                                                             02:20
·8· ·that is me sending to him.                                                                              02:20
                                                                                                             02:20
·9· · · · · Q.· · ·Oh, I'm sorry.· What are you sending                                                      02:21
                                                                                                             02:21
10· ·him?                                                                                                    02:21
                                                                                                             02:21
11· · · · · A.· · ·A call list.                                                                              02:21
                                                                                                             02:21
12· · · · · Q.· · ·What is a call list?                                                                      02:21
                                                                                                             02:21
13· · · · · A.· · ·A list of individuals to call to ask                                                      02:21
                                                                                                             02:21
14· ·for money, either for myself or the Democratic                                                          02:21
                                                                                                             02:21
15· ·Party.                                                                                                  02:21
                                                                                                             02:21
16· · · · · Q.· · ·Got it.· And you're sending that to                                                       02:21
                                                                                                             02:21
17· ·him for what reason?                                                                                    02:21
                                                                                                             02:21
18· · · · · A.· · ·So he can be apprised of who I have                                                       02:21
                                                                                                             02:21
19· ·called and who I have not called and to harass me                                                       02:21
                                                                                                             02:21
20· ·about calling the ones that have not been called.                                                       02:21
                                                                                                             02:21
21· · · · · Q.· · ·Got it.· And then you're telling him                                                      02:21
                                                                                                             02:21
22· ·in the next text down, at 11:11 p.m., that you're                                                       02:21
                                                                                                             02:21
23· ·going to have a meeting with Mr. Epstein when you                                                       02:21
                                                                                                             02:21
24· ·arrive in New York?                                                                                     02:21
                                                                                                             02:21
25· · · · · A.· · ·Yes.                                                                                      02:21
                                                                                                             02:21


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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· · · · · Q.· · ·That's the meeting that we've been                                                        02:21
                                                                                                             02:21
·3· ·talking about?                                                                                          02:21
                                                                                                             02:21
·4· · · · · A.· · ·Yes.                                                                                      02:21
                                                                                                             02:21
·5· · · · · Q.· · ·Okay.· Does the name Thorbjon                                                             02:21
                                                                                                             02:21
·6· ·Jagland mean anything to you?                                                                           02:22
                                                                                                             02:22
·7· · · · · A.· · ·No, I don't recall a name like that.                                                      02:22
                                                                                                             02:22
·8· · · · · · · · ·COURT REPORTER:· Can you spell that
·9· · · · · on the record?
10· · · · · · · · ·MR. NEIMAN:                                                                               02:22
                                                                                                             02:22
11· · · · · T-h-o-r-b-j-o-n, J-a-g-l-a-n-d.                                                                  02:22
                                                                                                             02:22
12· · · · · · · · ·THE WITNESS:· If I could see it?                                                          02:22
                                                                                                             02:22
13· ·BY MR. NEIMAN:
14· · · · · Q.· · ·Yes, sure.· I'll show it to you.                                                          02:22
                                                                                                             02:22
15· ·This is...                                                                                              02:22
                                                                                                             02:22
16· · · · · · · · ·COURT REPORTER:· Can you state what
17· · · · · exhibit it will be?
18· · · · · · · · ·MR. NEIMAN:· 72.                                                                          02:22
                                                                                                             02:22
19· · · · · · · · ·MR. ACKERMAN:· 41.                                                                        02:22
                                                                                                             02:22
20· · · · · · · · ·MR. ECKARD:· 41.
21· · · · · · · · ·MR. NEIMAN:· Oh, sorry.· Yes.· It's
22· · · · · my Binder 72, your Exhibit 41.
23· · · · · · · · ·[Exhibit 41, Groff, Epstein email                                                         02:22
                                                                                                             02:22
24· · · · · exchange, was marked for identification.]                                                        02:22
                                                                                                             02:22
25· ·BY MR. NEIMAN:                                                                                          02:22
                                                                                                             02:22


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             F U. S. vvs
                       s JJPMORGAN
                           P M O R G A N CCHASE H A S E BBANK
                                                          A NK                            2224
                                                                                            24

·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· · · · · Q.· · ·All right.· And you can see,                                                              02:22
                                                                                                             02:22
·3· ·Ms. Plaskett, that Exhibit 41 us an email from                                                          02:23
                                                                                                             02:23
·4· ·Ms. Groff to Mr. Epstein giving his schedule for                                                        02:23
                                                                                                             02:23
·5· ·the day.· Do you see that?                                                                              02:23
                                                                                                             02:23
·6· · · · · A.· · ·Yes.
·7· · · · · Q.· · ·And the person immediately before
·8· ·you on this schedule is this name, Thorbjon
·9· ·Jagland.· So I was just asking if that refreshed                                                        02:23
                                                                                                             02:23
10· ·your recollection at all about who it was that                                                          02:23
                                                                                                             02:23
11· ·you were introduced to when you met with                                                                02:23
                                                                                                             02:23
12· ·Mr. Epstein?                                                                                            02:23
                                                                                                             02:23
13· · · · · A.· · ·It possibly could be.· As I stated,                                                       02:23
                                                                                                             02:23
14· ·they were in the dining room when I arrived.                                                            02:23
                                                                                                             02:23
15· · · · · Q.· · ·I could show you a quick picture.                                                         02:23
                                                                                                             02:23
16· · · · · · · · ·MR. ACKERMAN:· If I can mark it on                                                        02:23
                                                                                                             02:23
17· · · · · the record.                                                                                      02:23
                                                                                                             02:23
18· · · · · · · · ·MR. NEIMAN:· It's not that                                                                02:23
                                                                                                             02:23
19· · · · · important.                                                                                       02:23
                                                                                                             02:23
20· · · · · Okay.· Let's take a look now at the next                                                         02:23
                                                                                                             02:23
21· · · · · exhibit which will be Plaskett Exhibit 42.                                                       02:24
                                                                                                             02:24
22· · · · · · · · ·[Exhibit 42, Plaskett, Murray email                                                       02:24
                                                                                                             02:24
23· · · · · exchange, was marked for identification.]                                                        02:24
                                                                                                             02:24
24· ·BY MR. NEIMAN:                                                                                          02:24
                                                                                                             02:24
25· · · · · Q.· · ·All right.· So Exhibit 42 is an                                                           02:24
                                                                                                             02:24


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                                                          A NK                            2225
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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· ·email exchange between Mr. Murray and you,                                                              02:24
                                                                                                             02:24
·3· ·correct?                                                                                                02:24
                                                                                                             02:24
·4· · · · · A.· · ·Yes.                                                                                      02:24
                                                                                                             02:24
·5· · · · · Q.· · ·And this is a follow-up to the                                                            02:24
                                                                                                             02:24
·6· ·meeting with Jeffrey Epstein that we've just been                                                       02:24
                                                                                                             02:24
·7· ·talking about; fair?                                                                                    02:24
                                                                                                             02:24
·8· · · · · A.· · ·Yes.                                                                                      02:24
                                                                                                             02:24
·9· · · · · Q.· · ·This is an email that Mr. Murray is                                                       02:25
                                                                                                             02:25
10· ·drafting for the purposes of sharing with Erika                                                         02:25
                                                                                                             02:25
11· ·so that she can pass it on to Mr. Epstein?                                                              02:25
                                                                                                             02:25
12· · · · · A.· · ·I don't know who the email was to.                                                        02:25
                                                                                                             02:25
13· · · · · Q.· · ·Well, you'll see that Ms. Plaskett                                                        02:25
                                                                                                             02:25
14· ·writes -- that you write -- excuse me.                                                                  02:25
                                                                                                             02:25
15· ·Withdrawn.                                                                                              02:25
                                                                                                             02:25
16· · · · · · · · ·Yeah.· You'll see that you, in the                                                        02:25
                                                                                                             02:25
17· ·top email on the page, say:· "This looks fine.                                                          02:25
                                                                                                             02:25
18· ·Please send the email to Erika."· Do you see                                                            02:25
                                                                                                             02:25
19· ·that?                                                                                                   02:25
                                                                                                             02:25
20· · · · · A.· · ·Yes.                                                                                      02:25
                                                                                                             02:25
21· · · · · Q.· · ·So you're instructing Mr. Murray to                                                       02:25
                                                                                                             02:25
22· ·send this email that he's drafted to Erika,                                                             02:25
                                                                                                             02:25
23· ·correct?                                                                                                02:25
                                                                                                             02:25
24· · · · · A.· · ·Yes.                                                                                      02:25
                                                                                                             02:25
25· · · · · Q.· · ·And for her to pass this on to                                                            02:25
                                                                                                             02:25


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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· ·Jeffrey Epstein, right?                                                                                 02:25
                                                                                                             02:25
·3· · · · · A.· · ·Yes.· I believe I'm instructing                                                           02:25
                                                                                                             02:25
·4· ·Jerome to send it to Erika and to let her know                                                          02:25
                                                                                                             02:25
·5· ·about the conversation I had with him about it.                                                         02:25
                                                                                                             02:25
·6· · · · · Q.· · ·With the idea that she would then                                                         02:25
                                                                                                             02:25
·7· ·reach out to Mr. Epstein to arrange the                                                                 02:25
                                                                                                             02:25
·8· ·contribution?                                                                                           02:25
                                                                                                             02:25
·9· · · · · A.· · ·Yes.                                                                                      02:25
                                                                                                             02:25
10· · · · · Q.· · ·And do you recall that the DCCC                                                           02:25
                                                                                                             02:25
11· ·rejected Mr. Epstein's contribution?                                                                    02:26
                                                                                                             02:26
12· · · · · A.· · ·Yes.                                                                                      02:26
                                                                                                             02:26
13· · · · · Q.· · ·Tell me what you remember about                                                           02:26
                                                                                                             02:26
14· ·that.                                                                                                   02:26
                                                                                                             02:26
15· · · · · A.· · ·To the best of my recollection, I                                                         02:26
                                                                                                             02:26
16· ·recall that I was informed by my chief of staff                                                         02:26
                                                                                                             02:26
17· ·that the DCCC informed him that Mr. Epstein's                                                           02:26
                                                                                                             02:26
18· ·contribution would not be accepted by the DCCC.                                                         02:26
                                                                                                             02:26
19· · · · · Q.· · ·What did you do when you heard that?                                                      02:26
                                                                                                             02:26
20· · · · · A.· · ·I'm not sure who -- if I can recall                                                       02:26
                                                                                                             02:26
21· ·who I reached out to at that point to inform.                                                           02:26
                                                                                                             02:26
22· · · · · Q.· · ·Okay.· Did you do anything to try to                                                      02:26
                                                                                                             02:26
23· ·find out why the Democratic Congressional                                                               02:26
                                                                                                             02:26
24· ·Campaign Committee had rejected Mr. Epstein's                                                           02:26
                                                                                                             02:26
25· ·donation?                                                                                               02:26
                                                                                                             02:26


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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· · · · · A.· · ·I don't recall if it was already                                                          02:26
                                                                                                             02:26
·3· ·expressed to me in his letting me know that it
·4· ·was denied or if I got additional information.                                    I                     02:26
                                                                                                             02:26
·5· ·don't recall.                                                                                           02:27
                                                                                                             02:27
·6· · · · · Q.· · ·Do you recall what you learned was                                                        02:27
                                                                                                             02:27
·7· ·the reason why the DCCC would not accept                                                                02:27
                                                                                                             02:27
·8· ·Mr. Epstein's contribution?                                                                             02:27
                                                                                                             02:27
·9· · · · · A.· · ·Yes.                                                                                      02:27
                                                                                                             02:27
10· · · · · Q.· · ·What was that?                                                                            02:27
                                                                                                             02:27
11· · · · · A.· · ·That he had not passed their                                                              02:27
                                                                                                             02:27
12· ·vetting.                                                                                                02:27
                                                                                                             02:27
13· · · · · Q.· · ·What did you understand that to be a                                                      02:27
                                                                                                             02:27
14· ·reference to?                                                                                           02:27
                                                                                                             02:27
15· · · · · A.· · ·I did not know the specifics of what                                                      02:27
                                                                                                             02:27
16· ·that vetting was.                                                                                       02:27
                                                                                                             02:27
17· · · · · Q.· · ·Did you assume that it related to                                                         02:27
                                                                                                             02:27
18· ·his status as a sex offender?                                                                           02:27
                                                                                                             02:27
19· · · · · · · · ·MR. ECKARD:· Object to form.                                                              02:27
                                                                                                             02:27
20· · · · · · · · ·THE WITNESS:· I was not sure of the                                                       02:27
                                                                                                             02:27
21· · · · · totality of the circumstances.                                                                   02:27
                                                                                                             02:27
22· ·BY MR. NEIMAN:                                                                                          02:27
                                                                                                             02:27
23· · · · · Q.· · ·Did learning that the DCCC had                                                            02:27
                                                                                                             02:27
24· ·declined to accept Mr. Epstein's contribution                                                           02:27
                                                                                                             02:27
25· ·because he had not passed their vetting cause you                                                       02:27
                                                                                                             02:27


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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· · · · · record at 4:21.                                                                                  04:22
                                                                                                             04:22
·3· ·BY MR. NEIMAN:                                                                                          04:22
                                                                                                             04:22
·4· · · · · Q.· · ·All right.· Congresswoman, this                                                           04:22
                                                                                                             04:22
·5· ·won't take too much longer.                                                                             04:22
                                                                                                             04:22
·6· · · · · · · · ·MR. NEIMAN:· I'm going to hand you a                                                      04:22
                                                                                                             04:22
·7· · · · · document that's marked as Plaskett                                                               04:22
                                                                                                             04:22
·8· · · · · Exhibit 54.                                                                                      04:22
                                                                                                             04:22
·9· · · · · · · · ·[Exhibit 54, 2014 to 2020 donor                                                           04:22
                                                                                                             04:22
10· · · · · list, was marked for identification.]                                                            04:22
                                                                                                             04:22
11· · · · · · · · ·MR. ECKARD:· Counsel, this one                                                            04:22
                                                                                                             04:22
12· · · · · doesn't have a Bates number.· Was it                                                             04:22
                                                                                                             04:22
13· · · · · produced?                                                                                        04:22
                                                                                                             04:22
14· · · · · · · · ·MR. NEIMAN:· Yes.· This was produced                                                      04:22
                                                                                                             04:22
15· · · · · as a native.                                                                                     04:22
                                                                                                             04:22
16· ·BY MR. NEIMAN:                                                                                          04:22
                                                                                                             04:22
17· · · · · Q.· · ·So, Congresswoman, you were asked                                                         04:22
                                                                                                             04:22
18· ·some questions about the number of donors that                                                          04:22
                                                                                                             04:22
19· ·you have and the like by Mr. Ackerman, and I just                                                       04:22
                                                                                                             04:22
20· ·want to show you your actual list that you                                                              04:22
                                                                                                             04:22
21· ·produced of your donors, at least from the 2014                                                         04:22
                                                                                                             04:22
22· ·cycle through the 2020 cycle.· Okay?                                                                    04:22
                                                                                                             04:22
23· · · · · · · · ·Do you see that?                                                                          04:23
                                                                                                             04:23
24· · · · · A.· · ·Yes.                                                                                      04:23
                                                                                                             04:23
25· · · · · Q.· · ·And what we've done is we've                                                              04:23
                                                                                                             04:23


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·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· ·highlighted the particular individuals on this                                                          04:23
                                                                                                             04:23
·3· ·list who are either Epstein or Epstein-affiliated                                                       04:23
                                                                                                             04:23
·4· ·persons who made contributions to your campaign                                                         04:23
                                                                                                             04:23
·5· ·in those cycles.· Okay?                                                                                 04:23
                                                                                                             04:23
·6· · · · · A.· · ·I'm looking through it.                                                                   04:23
                                                                                                             04:23
·7· · · · · Q.· · ·Yes.· Let me know when you're ready.                                                      04:23
                                                                                                             04:23
·8· · · · · A.· · ·Okay.· Yes.                                                                               04:23
                                                                                                             04:23
·9· · · · · Q.· · ·And you can see on page 3 that                                                            04:23
                                                                                                             04:23
10· ·Mr. Epstein appears as a donor, and that his                                                            04:23
                                                                                                             04:23
11· ·lifetime total to your campaigns for the 2014                                                           04:23
                                                                                                             04:23
12· ·through 2020 campaign cycles was $8,100                                                                 04:23
                                                                                                             04:23
13· ·personally, correct?                                                                                    04:24
                                                                                                             04:24
14· · · · · A.· · ·I see that number, yes.                                                                   04:24
                                                                                                             04:24
15· · · · · Q.· · ·And then if you look at the next                                                          04:24
                                                                                                             04:24
16· ·page, you can that Lesley Groff, who you                                                                04:24
                                                                                                             04:24
17· ·corresponded with in connection with Mr. Epstein,                                                       04:24
                                                                                                             04:24
18· ·also donated to your campaign?                                                                          04:24
                                                                                                             04:24
19· · · · · A.· · ·Yes.                                                                                      04:24
                                                                                                             04:24
20· · · · · Q.· · ·And she donated 2,600.· Do you see                                                        04:24
                                                                                                             04:24
21· ·that?                                                                                                   04:24
                                                                                                             04:24
22· · · · · A.· · ·Yes, I see that.                                                                          04:24
                                                                                                             04:24
23· · · · · Q.· · ·And then if you look at the next                                                          04:24
                                                                                                             04:24
24· ·page after that, you can see that Darren Indyke,                                                        04:24
                                                                                                             04:24
25· ·who we saw was the person who presented on behalf                                                       04:24
                                                                                                             04:24


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                                                                                            05

·1· · · · · · ·STACEY PLASKETT - CONFIDENTIAL
·2· ·of FTC, seeking a tax -- extension of tax breaks                                                        04:24
                                                                                                             04:24
·3· ·from the development authority while you were                                                           04:24
                                                                                                             04:24
·4· ·there, gave $10,700 to your campaign.                                                                   04:24
                                                                                                             04:24
·5· · · · · · · · ·Do you see that?                                                                          04:24
                                                                                                             04:24
·6· · · · · A.· · ·Yes.                                                                                      04:24
                                                                                                             04:24
·7· · · · · Q.· · ·And that Mr. Kahn, who is also                                                            04:24
                                                                                                             04:24
·8· ·associated with Mr. Epstein, gave $10,700 to your                                                       04:24
                                                                                                             04:24
·9· ·campaign as well.                                                                                       04:24
                                                                                                             04:24
10· · · · · · · · ·Do you see that?                                                                          04:24
                                                                                                             04:24
11· · · · · A.· · ·Okay.· I see.                                                                             04:24
                                                                                                             04:24
12· · · · · Q.· · ·And that Bella Klein, who is                                                              04:25
                                                                                                             04:25
13· ·described in this document as Darren Indyke's                                                           04:25
                                                                                                             04:25
14· ·administrative assistant, also donated $2,600 to                                                        04:25
                                                                                                             04:25
15· ·your campaign?                                                                                          04:25
                                                                                                             04:25
16· · · · · A.· · ·I see that.                                                                               04:25
                                                                                                             04:25
17· · · · · Q.· · ·So across those five people, there's                                                      04:25
                                                                                                             04:25
18· ·total donations in excess of $30,000, correct?                                                          04:25
                                                                                                             04:25
19· · · · · A.· · ·I'm adding that up.· That sounds                                                          04:25
                                                                                                             04:25
20· ·correct.                                                                                                04:25
                                                                                                             04:25
21· · · · · Q.· · ·Did you have any other contributor                                                        04:25
                                                                                                             04:25
22· ·who donated either directly themselves, or by                                                           04:25
                                                                                                             04:25
23· ·themselves, and with a group of people associated                                                       04:25
                                                                                                             04:25
24· ·with them, more than $30,000?                                                                           04:25
                                                                                                             04:25
25· · · · · · · · ·MR. ACKERMAN:· Objection to form.                                                         04:25
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                F U. S. vvs
                          s JJPMORGAN
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                                                             A NK                                                           3313
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·1·   ·   ·   ·    ·    ·    ·    STACEY       PLASKETT             -    CONFIDENTIAL

·2·   ·   ·   ·    ·    ·CERTIFICATE                OF    REPORTER/NOTARY                      PUBLIC

·3

·4·   ·   ·   ·    ·    ·I,       Goldy       Gold,       a    Notary             Public       within            and       for

·5·   ·the        State          of    New    York       and       for       the    District              of

·6·   ·Columbia,                 do    hereby       certify             that       the       within-named

·7·   ·witness              personally             appeared             before          me    at     the       time        and

·8·   ·place           herein          set    out,       and       after          having       been          duly

·9·   ·sworn           by    me,       according          to       the       law,       was    examined               by

10·   ·counsel.

11·   ·   ·   ·    ·    ·I       further       certify             that       the       examination                 was

12·   ·recorded              stenographically                      by    me       and    this        transcript

13·   ·is     a    true          record       of    the       proceedings.

14·   ·   ·   ·    ·    ·I       further       certify             that       I    am    not       of     counsel             to

15·   ·any        of    the       parties,          nor       in    any       way       interested               in      the

16·   ·outcome              of    this       action.

17·   ·   ·   ·    ·    ·As       witness          my    hand       and       notarial             seal        this

18·   ·10th        day       of       April,       2023.

19
· ·   ·   ·   ·    ·    ·    ·    ·    __________________________
20·   ·   ·   ·    ·    ·    ·    ·    · · ·GOLDY GOLD, RPR
· ·   ·   ·   ·    ·    ·    ·    ·    · · ·Notary Public
21

22

23·   ·My Commission for                       the       State          of    New       York       Expires:
· ·   ·January 27, 2026
24
· ·   ·My Commission for                       the       District             of    Columbia ·               Expires:
25·   ·February 29, 2028


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